    Case: 1:23-cv-04885 Document #: 46 Filed: 02/28/24 Page 1 of 3 PageID #:284




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS



 DAO HEALTH, a California Corporation,

                       Plaintiff,

        v.
                                                   Civil Action No. 1:23-cv-04885
  SHENZHEN LUTEJIANCHENG
  TECHNOLOGY CO., LTD., a/k/a
  SHENZHEN ROOT E-COMMERCE CO.,
  LTD., a China Limited Company,

                       Defendant.



                        STIPULATED ORDER TO EXTEND TIME

       Plaintiff Dao Health and Defendant Shenzhen Lutejiacheng Technology. Co., Ltd., by and

through their undersigned attorneys, hereby jointly agree and stipulate to extend the following

deadlines in the Joint Discovery Schedule (D.I. 31) as amended by Stipulated Order to Extend

Time (D.I. 44):

                     Event                         Current Deadline      Proposed Deadline

 LPR 2.3 & 2.4. Initial Non-Infringement,          February 29, 2024        March 7, 2024
 Invalidity, and Unenforceability Contentions
 and Document Production

 LPR 2.5. Initial Response to Non-Infringement,     March 21, 2024           April 4, 2024
 Invalidity, and Unenforceability Contentions
    Case: 1:23-cv-04885 Document #: 46 Filed: 02/28/24 Page 2 of 3 PageID #:285




Date: February 27, 2024


 Respectfully submitted,


 By: /s/ Meng Xi                            By: /s/ Steven H. Sklar__________
 Meng Xi                                    Steven H. Sklar
  Texas State Bar No. 24132850              Gregory C. Bays
   mxi@susmangodfrey.com                    Pei Raymond Chen, Ph.D.
 Shawn Blackburn                             (pro hac vice forthcoming)
  Texas State Bar No. 24089989              LEYDIG, VOIT & MAYER, LTD.
  sblackburn@susmangodfrey.com              ssklar@leydig.com
 Bryce T. Barcelo                           gbays@leydig.com
  Texas State Bar No. 24092081              rchen@leydig.com
 bbarcelo@susmangodfrey.com                 Two Prudential Plaza
 SUSMAN GODFREY LLP                         180 N Stetson Ave, Suite 4900
 1000 Louisiana Street, Suite 5100          Chicago, IL 60601-6731
 Houston, TX 77002                          Telephone: (312) 616-5600
 Telephone: (713) 651-9366                  Facsimile: (312) 616-5700
 Facsimile: (713) 654-6666
                                            Attorneys for Defendant
 Tanner Laiche                              Shenzhen Lutejiacheng Technology Co., Ltd.
   Washington State Bar No. 60450
   tlaiche@susmangodfrey.com
 SUSMAN GODFREY LLP
 401 Union Street, Suite 3000
 Seattle, WA 98101
 Telephone: (206) 505-3816
 Facsimile: (206) 516-3883

 Howard B. Rockman
   Illinois ARDC No. 2361051
   rockman@rvoiplaw.com
 ROCKMAN, VIDEBECK &
 O’CONNOR, LLC
 1s376 Summit Ave., Court C
 Oakbrook Terrace, Illinois 60181
 Telephone: (630) 627-4552
 Facsimile: (630) 627-2145

 Yanling Jiang
  Illinois ARDC No. 6309336
  yanling@jiangip.com
 Yi Bu
  Illinois ARDC No. 6328713

                                        2
   Case: 1:23-cv-04885 Document #: 46 Filed: 02/28/24 Page 3 of 3 PageID #:286




JIANGIP LLC
33 West Jackson Blvd.
Chicago, Illinois 60604
Telephone: (630) 733-9483

Attorneys for Plaintiff
Dao Health




SO ORDERED, THIS 28th DAY OF FEBRUARY 2024




                              _______________________________________________
                              Hon. Thomas M. Durkin, U.S.D.J.




                                       3
